                                           IN THE
                                UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF VIRGINIA
                                     DANVILLE DIVISION

  UNITED STATES OF AMERICA,                       )
                                                  )
                  Plaintiff,                      )
                                                  )
  v.                                              )       Criminal No. 4:18-CR-00011
                                                  )
  ASHLEY TIANA ROSS,                              )
                                                  )
                  Defendant.                      )

                 NOTICE OF ASHLEY ROSS’ JOINDER IN RESPONSES AND
                               MOTIONS IN LIMINE

          Comes now the Defendant, Ashley Tiana Ross, by counsel, and:

          1.      Joins Dashaun Trent’s Motion for Bill of Particulars and Other Relief in re: Matthew

  Ferguson (ECF No. 716);

          2.      Joins Shabba Chandler’s Motion in Limine to Exclude Witness Testimony (ECF No.

  714);

          3.      Joins Dashaun Trent’s Response to Opposition to the Government’s Notice of Intent to

  Introduce Rule 404(b) Evidence (ECF No. 717 [in response to ECF 651], and, in further support, Ross

  adds that she — like Dashaun Trent — is not charged with any gun related offense during or as a result of

  the November 2, 2016 “consensual encounter” referenced in Trent’s Response. ECF No. 717, at 5 ¶7;

          4.      Joins Marcus Davis’ Response in Opposition to the Government’s Notice of Intent to

  Introduce Rule 404(b) Evidence (ECF No. 718 [in response to ECF 651]);

          5.      Joins Kanas Trent’s Response to the Government’s Motion in Limine to Preclude

  Improper Character Evidence (ECF No. 709 [in response to ECF’s 654 and 656]);

          6.      Joins Dashaun Trent’s Response to the Government’s Motion in Limine Regarding

  References to Potential Sentences (ECF No. 666 [in response to ECF 656]);



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         7.      Joins Kanas Trent’s Motion in Limine to Redact Certificates of Analysis Re: Cartridge

  Casing Associations with Unrelated Danville Criminal Investigations (ECF No. 661);

         8.      Joins Kanas Trent’s Motion in Limine to Redact Names on Exhibits (ECF No. 650);

         9.      Joins Dashaun Trent’s Partial Objections to Government’s Proposed Jury Instructions and

  Motion to Enlarge Time to Response Further to Proposed Instructions (ECF No. 720).

                                                        Respectfully submitted,

                                                        ASHLEY TIANA ROSS

                                                        By      /s/Terry N. Grimes
                                                               Of Counsel

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                                   CERTIFICATE OF SERVICE

         I hereby certify that the foregoing document was electronically filed with the Clerk of the

  Court using the CM/ECF system, and that a true and accurate copy of the foregoing was sent via the

  CM/ECF system to all counsel of record, on the 9th day of September, 2019.

                                                                /s/ Terry N. Grimes
                                                                    Terry N. Grimes




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